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                     UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOANNE REDICAN-KOHN                            )
                                               )
                Plaintiff,                     )
                                               )
       v.                                      )   CASE NO. 11-4289
                                               )
ESQUIRE DEPOSITION                             )
SERVICES, LLC                                  )
                                               )
                Defendant.                     )


                           JOINT STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED by and between the parties that this action shall be

dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, each party to bear its own costs.

       Dated: September 14, 2016



    FOR THE PLAINTIFF:                             FOR THE DEFENDANT:

    /s/ E. Merritt Lentz                           /s/ Alexander Nemiroff

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                              CERTIFICATE OF SERVICE

        I certify that on September 14, 2016, I electronically filed the foregoing Joint

Stipulation of Dismissal with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to the following counsel of record in this matter:

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                                                        /s/ E. Merritt Lentz
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